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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
WESTERN DIVISION
.H .
12 STEVEN J. BERNHEIM, an individual, on ) CASE NO. CV 03-6068 (RSWL) (MANX) _
behalf of_ himself and the general public; )
13 . ) W ORDER RE: JOINT
Plaintlff, g MOTION TO REMAND
14 -
vs. _ ) Date: December 15, 2003
15 § Time: 9:00 a.m.
BANC OF AMERICA INVESTMENT Place: Court Room 21, 5°‘ Floor
16 SERVICES, INC., a Florida Corporation; et ) .
al. § Hon. Ronald S. W. Lew, Judge
17 Defendants. ) "
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[Proposed] Order Re Joint Motion to Remand

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4 l Plaintiffs Steven J. Bemheim’s and Det"end§mt Akamai Technologies, Inc.’s Joint

. 1:_1
2 Motion to Rema:nd to the Superior Court of the State of California for the County of Los §§

3 Angeles came on for hearing before this Court, on December 15 , 2003. - lang

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5 After consideration of the briefs and arguments of counsel, and all other matters
6 presented to the Courr, IT IS HEREBY ORDERED that this' action is remanded to the Los

Angeles Superior Court.

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ROHALD S.W. LEW

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United St:s District JudEevJ
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l am employed in the County of Los Angeles, State of Califomia. l am over the age
of 18 and not a party to the within action; my business address is: 11650 Riverside Drive;j.;

Suite 6,North Hollywood,Califomia 91602. On mle ,2003,Iserved the
foregoing documents described as: ' . ` \`

[Prepesed] oRDER RE= JolNr Mo'rloN To REMAND

on interested parties in this action by placiii () the original (X) a true copy thereof
enclosed in a sealed envelope addressed as ollows:

sEE ATTACHED sERVICE LIST

[x] (BY MAIL) I am "readily familiar" with the firm's practice of collection and
' processing correspondences for mailing Under that practice it would be deposited
with the U.S. Postal Service on that same day with postage thereon fully prepaid at
Los Angeles, California in the ordinary course of business. lam aware that on
motion of the party served, service is presumed invalid if postal cancellation date or
postage meter date is more than one day aher date of deposit for mailing in affidavit

[ ] (BY PERsoNAL sERvICE) 1 delivered eueh envelope by hand re the offices er the `
addressee l _

[] (VIA li_`ACSIMILE) I caused such document to be transmitted via facsimile. Such
transmission was reported via facsimile confirmation sheet as complete and without _
error.

I declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct of my own personal knowledge, that l am employed in an
office of a member of the Bar of this Court at whose direction this service was made, and
that l executed this document on lZ.{ 15 , 21003, at North Hollyw v = alifomia.

 

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Proof of Service

 

 

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